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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA
V. Criminal No. 1:12-CR-10119-NMG

ORLANDO VALLE

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MOTION TO SUPPRESS EVIDENCE

The defendant, Orlando Valle, in the above-entitled matter moves this Court to

suppress as evidence at trial the following:

(1) Any and all evidence, including but not limited to: (search of residence)

MPS bb gun

Three glassine bags

Eclipse scale

AWS scale

Samsung digital camera

American Arms .22 cal. pistol SS#053440
One magazine for pistol with 7 rounds ammunition
Birth Certificate

EBT Card

Samsung Metro PCS phone

Acura keys

I-Phone

Smith & Wesson .45 cal. magazine
Auto repair receipt

Telephone book

Black ski mask

Plastic grip for firearm

Immortal Outlaws Constitution

50 rounds R&M bullets

26 rounds bullets

Wallet

Black bag

Uniden police scanner

Mail

US U.S. S73, 681990), Unted Stobs v. betwen,

322 F3d /8& "22 (it aun 2003)

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